UNITED STATES DISTRICT COURT

FOR THE
PERN DISTRICT OF-P|

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Plaintiff )

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Defendant

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Civil Action No. 18 - 12 70

APPLICATION FOR PRISONERS TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Short Form)

Tam a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings
and that I am entitled to the relief requested.

In support of this application, 1 answer the following questions under penalty of perjury:

1. If incarcerated. | am being held at:

1am employed there, or have an account in the institution, I have attached to this document a statement
certified by the appropriate institutional officer showing all receipts, expenditures, and balances during the last six
months for any institutional account in my name. I am also submitting a similar statement from any other institution
where I was incarcerated during the last six months.

2. If not incarcerated. \f 1 am employed, my employer’s name and address are:

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a

, and my take-home pay or wages are: $ / 35 Oo

My gross pay or wages are: $ (3 SO
per LI f A if LA .

(specify pay pertod)

3. Other Income. In the past 12 months, I have received income from the following sources (check

all that apply):

(a) Business, profession, or other self-employment (1 Yes -ErNo
(b) Rent payments, interest, or dividends [Yes -ELNo
(c) Pension, annuity, or life insurance payments CJ Yes -ETNo
(d) Disability, or worker’s compensation payments C1 Yes -ETNo
(e) Gifts, or inheritances C1] Yes -EttNo
(f) Any other sources —Etyes [No

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